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                                                   Cross-Claimant
                                                   COEUR ALASKA, INC.

                                                                            UNITED STATES DISTRICT COURT

                                                                                FOR THE STATE OF ALASKA


                                                   MAVERIX METALS INC., a Canadian                   Case No. 1:21-cv-00021-SLG
                                                   corporation, et al.,
                                                                                                        OPPOSITION TO PLAINTIFF’S
                                                                            Plaintiff,                MOTION FOR PARTIAL SUMMARY
                                                                                                       JUDGMENT AND ALTERNATIVE
                                                   vs.                                                REQUEST FOR CONTINUANCE OF
                                                                                                      DISCOVERY PURSUANT TO CIVIL
                                                   COEUR ALASKA, INC., a Delaware                              RULE 56(D)
                                                   corporation,

                                                                            Defendant.


                                                     COEUR ALASKA, INC., a Delaware
                                                     corporation,

                                                                            Cross-Claimant,

                                                     vs.

                                                     MAVERIX METALS (NEVADA) INC.,
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                                                     a Nevada corporation,
                       Anchorage, AK 99501-5907
                        1031 West Fourth Avenue


                             (907) 276-4557




                                                                            Counter-Defendant.
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                                                           Defendant and Cross-Claimant Coeur Alaska, Inc., (“Coeur”) opposes Plaintiff and

                                                  Counter-Defendant Maverix Metals Inc., and Maverix Metals (Nevada) Inc.’s,

                                                  (collectively “Maverix”) motion for partial summary judgment. Should this Court not deny

                                                  Maverix’s motion outright, Coeur alternatively requests that this Court continue this

                                                  motion so that Coeur can conduct additional necessary discovery pursuant to Civil Rule

                                                  56(d).

                                                           Maverix’s motion is a classic example of “gotcha” litigation. Relying on a single

                                                  prepositional phrase, Maverix asserts that the language of the Royalty Deed technically

                                                  allows Coeur to recoup the cost only of facilities built “on” (as opposed to “for”) the

                                                  properties listed in the Royalty Deed (the “Properties”). Maverix makes this already

                                                  technical argument in splendid isolation. Maverix conveniently omits several provisions

                                                  of the Royalty Deed that expressly reference the facilities the parties intended for Coeur to

                                                  build and seek recoupment for; Maverix fails to address how this provision fits within the

                                                  parties’ intent as evidenced by the contract as a whole; and Maverix fails to provide any

                                                  evidence or other contractual language to demonstrate that the location of the facilities was

                                                  a provision that Maverix or its predecessors bargained for, relied upon, or benefitted from,

                                                  or that the use of the preposition “on” was even deliberate (the phrase “for the properties”

                                                  appears in several other places in the contract). In fact, because Maverix improperly failed

                                                  to disclose this claim until after the close of discovery, Maverix has made the technical
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                                                  argument on which it now demands summary disposition without Coeur having the
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                                                  opportunity to conduct discovery into any potentially material issue (e.g. the parties’



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                                                  knowledge as to where facilities—which were all built over a decade ago in locations that

                                                  have been publicly reported—were to be built, when the parties knew about this, and many

                                                  others). Finally, Maverix fails to directly address the substantive result of its purely

                                                  technical argument: that the vast majority of the $530,000,000 that Coeur spent to bring

                                                  the Kensington mine into production would not be subject to recoupment, that Coeur

                                                  should have been paying the original royalty holder and its successors royalties on

                                                  production since 2010, and that Coeur now owes Maverix (which purchased the Royalty

                                                  Deed in 2019) damages potentially in the tens of millions. Gotcha!

                                                           That is not how Alaska contract law works.              Instead of imposing technical

                                                  interpretations of isolated phrases, Alaska law requires courts to find the intent of the

                                                  parties using the contract’s language as a whole, extrinsic evidence, and common sense as

                                                  to what parties would reasonably have agreed to do. The plain language of the Royalty

                                                  Deed evidences a clear intent for Coeur to recoup the enormous costs of constructing the

                                                  facilities necessary to make the Kensington mine operational, which benefitted both

                                                  parties. The original counterparty to the Royalty Deed and its successors (including

                                                  Maverix) never previously objected to the concept of recoupment of these construction

                                                  costs, which were incurred more than a decade ago and which Coeur made using its best

                                                  judgment as expressly allowed by the contract. This Court can and should enforce the

                                                  parties’ clear intent and course of dealing under the Royalty Deed, and should reject
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                                                  Maverix’s unduly technical and non-contextual interpretation of the contract. This is
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                                                  particularly true given that Maverix’s technical interpretation of the contract is not



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                                                  supported by any demonstration that the location of the facilities was bargained for or at

                                                  all meaningful to the deed-holder, but would deprive Coeur of its most material and

                                                  fundamental rights under the Royalty Deed.

                                                            Finally, given Maverix’s unduly late disclosure of this claim, should the Court not

                                                  see fit to deny the motion outright, it should order a Rule 56(d) continuance to allow Coeur

                                                  to conduct discovery on issues such as the parties’ understanding of the meaning of this

                                                  provision, the materiality of this provision to the parties, the parties’ reliance on the

                                                  location of facilities, and Maverix’s predecessors’ knowledge of the location of facilities.

                                                            This Court should reject Maverix’s proposal and interpret the Royalty Deed to allow

                                                  Coeur to recoup its necessary construction costs as the parties intended and agreed. In the

                                                  alternative, Maverix’s belated raising of this claim after the discovery deadline has

                                                  prejudiced Coeur, and the Court should allow Coeur to conduct additional discovery.

                                                  I.        BACKGROUND

                                                            The Kensington Mine is an underground gold mining operation located

                                                  approximately 48 miles north-northwest of Juneau, Alaska.1 The property sits at the base

                                                  of a mountain where “[t]he terrain is steep and rocky, with many avalanche zones in the

                                                  winter . . . .”2 The mine has no road access and is accessible only by boat, helicopter, or

                                                  floatplane.3

                                                            In 1987, Coeur formed the Kensington Joint Venture with Echo Bay Mines (“Echo
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                                                  1
                                                    Doc. 44-2 at MAVERIX0012978.
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                                                  2
                                                    Id.
                                                  3
                                                    Id.


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                                                  Bay”) to acquire and operate the mine.4 In 1995, Coeur bought out Echo Bay’s interest,

                                                  giving Coeur control over the mine in exchange for the Royalty Deed at issue here.5 Coeur

                                                  then began the technical work necessary to develop the Kensington mine, including

                                                  engineering, additional exploration, and permitting, which proceeded over the course of

                                                  the next decade. 6 Coeur was required to expend over $530,000,000 to develop the

                                                  infrastructure necessary to place the Kensington mine into production.7

                                                           Coeur had to make decisions about where it would construct the necessary facilities.

                                                  Some were physically located on the Kensington parcels subject to the Royalty Deed. But,

                                                  to reduce costs and to deal with the rugged topology and geography of the site and other

                                                  issues beyond Coeur’s control, other facilities had to be constructed near the Kensington

                                                  parcels on adjoining properties.8

                                                           Coeur’s counter-party in the Royalty Deed, Echo Bay, was of course fully aware of

                                                  the significant investment it would take to turn Kensington into an operating mine. Echo

                                                  Bay was Coeur’s joint venture partner for nearly a decade and was involved in all of the

                                                  feasibility studies and exploration work done during that time and so understood the work

                                                  that had to be done.9 Moreover, the terms of the Royalty Deed itself specifically set forth

                                                  the parties understanding that to make Kensington a working mine, Coeur would need to
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                                                  4
                                                    Id. at MAVERIX0013013.
                                                  5
                                                    Id.
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                                                  6
                                                    Id.
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                                                  7
                                                    See id.; Doc. 44-6 at CM_004439.
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                                                  8
                                                      Affidavit of Mitchell J. Krebs (“Krebs Aff.”) ⁋⁋ 4-6.
                                                  9
                                                      Doc. 44-2 at MAVERIX0013013-14.


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                                                  develop and build “a mine and mill, beneficiation facility, or processing plant . . . mining

                                                  and milling or other processing equipment and machinery . . . [and] ancillary works such

                                                  as roads, utilities, tailings disposal facilities, and camp facilities….”10 The Royalty Deed

                                                  clearly states that the purpose of these facilities was to assist in production of “Gold

                                                  Minerals produced from the Properties” and otherwise “to serve the properties.”11

                                                             Because the parties knew that such a significant investment would be needed to turn

                                                  Kensington into an operational mine, the Royalty Deed allowed Coeur to recoup

                                                  construction costs incurred prior to the royalty holder receiving any payout. Coeur would

                                                  be able to recoup “[d]irect capital costs for the construction of a mine and processing

                                                  facility….”12 Coeur has included these costs in all of its recoupment statements though

                                                  Maverix now disputes that Coeur may include all of these costs under the terms of the

                                                  Royalty Deed.

                                                  II.        ARGUMENT

                                                             Maverix’s Royalty Deed interpretation is unreasonable and conflicts with the clear

                                                  statement of the parties’ expectations set forth in the contract and course of dealing. Coeur

                                                  and Echo Bay knew that an enormous investment in the construction of mining facilities

                                                  would be necessary to make the Kensington mine operational. The Royalty Deed’s express

                                                  language acknowledges that the parties intended for Coeur to be able to recoup those

                                                  construction costs—indeed, because the necessary investment was so significant, this is
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                                                  10
                                                       Doc. 42-1 at MAVERIX0000710-11.
                                                  11
                                                       Id.
                                                  12
                                                       Id. at MAVERIX0000710.

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                                                  one of the most fundamental and material rights the contract gave Coeur. The Royalty

                                                  Deed’s express language further acknowledges that the parties intended for Coeur to have

                                                  sole discretion over the Kensington mine’s development and operation, including decisions

                                                  like the location of facilities. Maverix and its predecessors knew or should have known

                                                  that Coeur had built the new facilities, the locations of those facilities, and that Coeur

                                                  expected to recoup those costs before royalty payments would be due. Finally, there is no

                                                  evidence that Echo Bay had any enforceable interest in the location of these facilities at all

                                                  or that locating the facilities “on” the properties was a material aspect of the performance

                                                  Echo Bay expected to receive.             In this light, Maverix’s narrow and out of context

                                                  interpretation of the Royalty Deed that strictly limits Coeur’s ability to develop the mine

                                                  and disallows such recoupment is unreasonable and untenable, and Maverix has waived

                                                  any right to claim otherwise. Coeur must be allowed to recoup all of the construction costs

                                                  incurred to build Kensington’s facilities.

                                                            A.       Summary Judgment Standard.

                                                            Summary judgment is warranted when no material issues of fact exist for trial.13 If

                                                  the moving party has shown an initial absence of any genuine issue of material fact, the

                                                  nonmoving party has the burden to establish the existence of an issue of fact regarding an

                                                  element essential to that party’s cause.14 Courts view the evidence in a light most favorable

                                                  to the non-moving party.15
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                                                  13
                                                     Warren v. City of Carlsbad, 58 F.3d 439, 441 (9th Cir. 1995), cert. denied, 516 U.S. 1171 (1996).
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                                                  14
                                                     Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986).
                                                  15
                                                     Warren, 58 F.3d at 441. See also Lenz v. Universal Music Corp., 801 F.3d 1126, 1130-31 (9th


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                                                           B.        Maverix’s Predecessors Have Waived Any Argument That Coeur’s
                                                                     Construction Costs Are Not Recoupable.

                                                           Maverix’s claim takes issue with facilities’ construction costs Coeur incurred over

                                                  a decade ago. Coeur constructed all of the facilities necessary for the mine before it began

                                                  commercial production in 2010.16 Maverix and its predecessors, Kinross Gold Corporation

                                                  and Echo Bay, either knew or should have known about the locations of these facilities

                                                  years ago, yet never raised any concern about the buildings’ locations.17 Maverix has now

                                                  waived any right to claim that the costs are incorrectly included in Coeur’s recoupment

                                                  calculations.

                                                           When a party to a contract is aware of conduct on the part of the other party
                                                           that constitutes a breach and fails to protest the breach while continuing to
                                                           perform the contract, that party may be held to have waived its right to rely
                                                           on the breach in subsequent litigation.”18 “‘[N]eglect to insist upon a right,’
                                                           . . . may result in an implied waiver, or an estoppel, when ‘the neglect is such
                                                           that it would convey a message to a reasonable person that the neglectful
                                                           party would not in the future pursue the legal right in question’.19




                                                  Cir. 2015) (“On cross-motions for summary judgment, we evaluate each motion independently,
                                                  giving the nonmoving party in each instance the benefit of all reasonable inferences.” (internal
                                                  quotation marks omitted)).
                                                  16
                                                     See Coeur Mining, “Kensington Gold Operations Alaska, Technical Report Summary,”
                                                  Dec. 31, 2021 at p. 2-1. Available at
                                                  https://www.coeur.com/_resources/pdfs/Technical%20Reports/Kensington%20TR.pdf?v=1.001;
                                                  Doc. 43-2 at MAVERIX0013015 (“Construction of nearly all surface facilities, except the
                                                  tailings disposal facility, was completed in 2007. . . . Construction on the [tailings disposal
                                                  facility] resumed in 2009 . . . .”).
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                                                  17
                                                     Notably, Maverix uses a 2010 Technical Report that it possessed as evidence of the facilities’
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                                                  locations demonstrating its prior knowledge of the same.
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                                                  18
                                                     Carr-Gottstein Foods Co. v. Wasilla, LLC, 182 P.3d 1131, 1136 (Alaska 2008).
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                                                  19
                                                     Id. (quoting Anchorage Chrysler Ctr., Inc. v. Daimler Chrysler Corp., 129 P.3d 905, 917 n.35
                                                  (Alaska 2006)).


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                                                            For example, in Wasilla, LLC, a landlord alleged that its supermarket tenant

                                                  breached their contract.20 The lease agreement provided that the supermarket would use

                                                  the property for a “general food supermarket” and sell only items sold “in other general

                                                  food supermarkets.” 21         The lease also prohibited subleasing without the landlord’s

                                                  consent.22 The landlord claimed that the tenant breached the agreement when it moved a

                                                  liquor store onto the premises.23

                                                            The Alaska Supreme Court found that the landlord had waived its breach claim.24

                                                  The Court held that the landlord knew about the move, in part because the landlord had

                                                  financial statements showing liquor sales.25 The Court further noted that the landlord’s

                                                  failure to act earlier prejudiced the tenant, because “[t]imely notice that the relocation

                                                  violated the lease would have afforded [the tenant] the opportunity to reconsider its

                                                  position.”26

                                                            Coeur has been similarly prejudiced by the royalty holders’ failure to earlier raise

                                                  concerns about the construction.             The locations of the facilities have been public

                                                  information since at least 2010, including in publicly filed technical reports that contain

                                                  detailed maps showing infrastructure locations that have been available on the Coeur’s

                                                  website. 27 Coeur included the costs of these constructions in its 2017 recoupment

                                                  20
                                                     Id. at 1134.
                                                  21
                                                     Id. at 1133.
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                                                  22
                                                     Id.
                                                  23
                                                     Id. at 1134.
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                                                  24
                                                     Id. at 1138.
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                                                  25
                                                     Id.
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                                                  26
                                                     Id. at 1139.
                                                  27
                                                     See Doc. 41-3 (2010 Technical Report on which Maverix relies as evidence of facilities’


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                                                  statements given to Kinross. 28 Kinross raised concerns with some aspects of this

                                                  recoupment statement but took no issue with the construction costs.29 Kinross even visited

                                                  the mine and would have seen the physical facilities in 2019,30 yet still it raised no concerns

                                                  about the facilities’ locations or insisted that their construction costs be excluded. Timely

                                                  notice would have allowed Coeur to reconsider its operations or accounting. Maverix’s

                                                  predecessors implicitly waived its right to contest costs based on the facilities’ locations,

                                                  and Maverix cannot assert such a breach here.

                                                            C.       The Parties’ Expectation and the Royalty Deed’s Principal Purpose Was
                                                                     for Coeur to Build and Be Able to Recoup Costs for the Kensington Mine
                                                                     Facilities.

                                                            “The goal of contractual interpretation is to give effect to the reasonable expectation

                                                  of the parties.”31 The Alaska Supreme Court has noted that, when interpreting a contract,

                                                  “[t]he first and generally most important rule is that ‘[w]ords and other conduct are

                                                  interpreted in the light of all the circumstances, and if the principal purpose of the parties

                                                  is ascertainable it is given great weight.’”32 “[T]he court will if possible give effect to all




                                                  locations). These reports have been publicly available on Coeur’s website through the course of
                                                  Kensington’s development. See
                                                  https://coeur.com/_resources/pdfs/Technical%20Reports/Kensington%20TR.pdf?v=1.00
                                                  1 (last checked Feb. 3, 2023).
                                                  28
                                                     Affidavit of Counsel (“Counsel Aff.”), Exh. A. Note, Coeur’s calculation of its investment prior
                                                  to commercial production has largely remained unchanged since it issued this quarterly statement
                                                  in 2017. Compare id. at CM_013242 ($504,221,000) with Doc. 41-4 ($501,232,886).
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                                                  29
                                                     Doc. 44-8.
                                                  30
                                                     See Doc. 44-10 (scheduling site visit for Kinross personnel).
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                                                  31
                                                     Beardsley v. Robert N. Jacobsen & Darlene F. Jacobsen Living Tr., 472 P.3d 500, 504 (Alaska
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                                                  2020) (quoting Casey v. Semco Energy, Inc., 92 P.3d 379, 383 (Alaska 2004)).
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                                                  32
                                                     Estate of Polushkin v. Maw, 170 P.3d 162, 168 (Alaska 2007) (quoting Restatement (Second)
                                                  of Contracts § 202)(1) (1981)).


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                                                  parts of the instrument and an interpretation which gives a reasonable meaning to all its

                                                  provisions will be preferred to one which leaves a portion of the writing useless or

                                                  inexplicable.”33

                                                            The Royalty Deed’s principal purpose is to give the royalty holder an interest in

                                                  gold production after Coeur has built, developed, and made commercially viable the

                                                  Kensington mine. The Royalty Deed explicitly contemplates that Coeur will incur “[d]irect

                                                  capital costs for the construction of a mine and processing facility,” “operating costs,” and

                                                  “[e]xploration and [d]evelopment costs.”34 The Royalty Deed also expressly contemplates

                                                  that Coeur will build and be permitted to recoup costs expended for the “construction of a

                                                  mine and mill, beneficiation facility, or processing plant, . . . mining and milling or other

                                                  processing equipment and machinery, . . . [and] construction of ancillary works such as

                                                  roads, utilities, tailings disposal facilities, and camp facilities to serve the Properties.”35

                                                  Even Maverix has admitted that Coeur had to construct these facilities to produce gold

                                                  from Kensington.36 Furthermore, the Royalty Deed expresses the parties’ expectation that

                                                  Coeur, not Echo Bay (nor the royalty holder), would operate the mine by giving Coeur

                                                  “sole discretion” over decisions about the “timing, manner, method and amounts of . . .

                                                  exploration and production.”37



                                                  33
                                                      Earthmovers of Fairbanks v. State, 644 P.2d 238, 240 (Alaska 1982) (quoting Modern
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                                                  Construction, Inc. v. Barce, Inc., 556 P.2d 528, 530 (Alaska 1976)).
                                                  34
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                                                     Doc. 41-1 at MAVERIX0000710-12.
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                                                  35
                                                     Id. at MAVERIX0000710-11.
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                                                  36
                                                     Counsel Aff., Exh. B at 88:9-89:2.
                                Suite 600




                                                  37
                                                     See Doc. 41-1 at MAVERIX0000717 (“Coeur, by the grant of this Net Returns Royalty or
                                                  otherwise, shall not be deemed subject to any duty to diligently explore for or produce Gold
                                                  Minerals from the Properties . . . .”).

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                                                            Coeur fulfilled the Royalty Deed’s purpose by building the Kensington mine. The

                                                  Royalty Deed’s express language indicates that Coeur should be able to recoup its costs of

                                                  doing so. The construction of the facilities benefits both parties, as without this no gold

                                                  could be produced from Kensington at all. This purpose should be given great weight and

                                                  any interpretation that would conflict with the parties’ expectations regarding construction

                                                  and recoupment should be viewed skeptically.

                                                            Maverix offers just such a conflicting interpretation. Maverix encourages the Court

                                                  to place an outsized weight on the prepositional phrase “on the Properties” while ignoring

                                                  the remainder of the Royalty Deed that seeks to allow Coeur to recoup its construction

                                                  investment undertaken for the benefit of the Kensington mine (and both parties), as well as

                                                  all exploration and development costs “connected with” exploring and developing the

                                                  Properties.        Specifically, Maverix encourages the Court to ignore the remainder of

                                                  Section 2(a), which explicitly “includ[es]” facilities to produce and mill, treat or process

                                                  Gold Minerals produced from the Properties,” equipment and machinery for the same, and

                                                  “ancillary works . . . to serve the Properties.”38 These prepositional phrases underscore the

                                                  purpose of Coeur’s promise in the Royalty Deed: building an operational mine. In turn,

                                                  the Royalty Deed’s primary purpose is to give Coeur the means to construct a mine, not to

                                                  limit how or where Coeur builds that mine. This Court should not adopt an interpretation

                                                  that undermines the Royalty Deed’s primary purpose.
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                                                  38
                                                       Id. at MAVERIX0000710-12 (emphasis added).
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                                                            D.       Maverix’s Proposed Interpretation Is Unreasonable Because The
                                                                     Royalty Deed Gave Coeur the Right to Use Its Business Judgment When
                                                                     Selecting Facility Locations and It Reasonably Relied on That Right;
                                                                     Locating Facilities “On” The Properties Was Not Material or Beneficial
                                                                     to Maverix or Essential to the Contract, and the Loss to Coeur Grossly
                                                                     Outweighs Any Potential Harm to Maverix From a Breach.

                                                            Maverix’s interpretation is also unreasonable because it ignores the context

                                                  surrounding the Royalty Deed’s issuance. “One important guide to the meaning of a

                                                  contract is that interpretations that give a reasonable meaning to a contract are preferred to

                                                  those that impart an unreasonable meaning.”39 “An unreasonable interpretation produces

                                                  an absurd result or one that no reasonable person would have accepted when entering the

                                                  contract.”40 In the context of mining agreements, the Alaska Supreme Court has assumed

                                                  that the parties “expected to make a profit” and “would act with reasonable business

                                                  judgment.”41



                                                  39
                                                     Estate of Polushkin, 170 P.3d at 172; see also id. (quoting Restatement (Second) of Contracts §
                                                  203(a) (1981) (“[A]n interpretation which gives a reasonable, lawful, and effective meaning to all
                                                  the terms is preferred to an interpretation which leaves a part unreasonable, unlawful, or of no
                                                  effect.” (alteration in original))).
                                                  40
                                                     Estate of Osborn v. Kemp, 991 A.2d 1153, 1160 (Del. 2010). See also Gore v. Beren, 867 P.2d
                                                  330, 337 (Kan. 1994) (“In placing a construction on a written instrument, reasonable rather than
                                                  unreasonable interpretations are favored by law. Results which vitiate the purpose or reduce terms
                                                  of the contract to an absurdity should be avoided.”); Born v. Hammond, 146 A.2d 44, 47 (Md.1958)
                                                  (“[I]f a contract was susceptible of two constructions, one of which would produce an absurd result
                                                  and the other of which would carry out the purpose of the agreement, the latter construction should
                                                  be adopted.”); Huntington on the Green Condo. v. Lemon Tree I-Condo, 874 So. 2d 1, 5 (Fla. Dist.
                                                  Ct. App. 2004) (“[I]f one interpretation would lead to an absurd conclusion, then such
                                                  interpretation should be abandoned and the one adopted which would accord with reason and
                                                  probability.”).
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                                                  41
                                                     United States Smelting, Ref. & Mining Co. v. Wigger, 684 P.2d 850, 854-55 (Alaska 1984)
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                                                  (rejecting “unreasonable interpretation . . . that the lessor would enter into a contract where the
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                                                  lessee could act without good business judgment”). While the contract interpretation at issue in
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                                                  Wigger are not perfectly analogous to the Royalty Deed interpretation at issue here, the same
                                                  common sense principles apply.


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                                                            Maverix offers a narrow, highly technical Royalty Deed interpretation that Coeur

                                                  could build the mine facilities only “on” the land described in the Royalty Deed. But

                                                  Maverix provides no evidence that Coeur and Echo Bay actually intended to limit

                                                  recoupment of construction costs to only development “on” enumerated parcels or that

                                                  such a requirement was so beneficial or material to Echo Bay that failure to comply with it

                                                  could justify depriving Coeur of its central benefit under the contract.

                                                            Such a reading would defy business sense given the topography and geographical

                                                  location of the properties. The Kensington mine is located in an undeveloped, mountainous

                                                  area.42 Not every acre is suitable for construction.43 When Coeur invested hundreds of

                                                  millions to build the mining facilities and infrastructure required to operate the Kensington

                                                  mine, it had to make practical decisions about which facility locations would be suitable

                                                  and cost effective.44 Echo Bay, as the mine’s former operator, would have been intimately

                                                  familiar with the region and the difficulties Coeur would face when constructing the

                                                  Kensington mine’s facilities. Rather than limit itself to locations subject to the Royalty

                                                  Deed, Coeur used good business judgment to construct the facilities in the most efficient

                                                  locations for their intended purpose, on or near the Kensington mine properties.45 The only

                                                  reasonable interpretation of the Royalty Deed, when viewed as a whole, is that Coeur

                                                  would i) construct the necessary facilities to bring the mine into production, ii) use its

                                                  reasonable judgment in deciding how and where to construct these facilities, and iii) recoup
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                                                  42
                                                     Doc. 44-2 at MAVERIX0012978.
                                Suite 600




                                                  43
                                                     Krebs Aff. ⁋⁋ 4, 6.
                                                  44
                                                     Id. ⁋⁋ 4-5.
                                                  45
                                                     Id. ⁋⁋ 4-6.

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                                                  the construction costs incurred before paying the royalty. In making those decisions over

                                                  a decade ago, Coeur reasonably relied—to the tune of $530MM—on its right to exercise

                                                  its reasonable business judgment as to the location of facilities.

                                                            If Maverix’s proposed interpretation were correct, it would yield absurd results that

                                                  defy common sense, let alone good business judgment. According to Maverix’s theory,

                                                  Coeur should have incurred millions of dollars in additional expenses by constructing the

                                                  facilities only “on” the parcels enumerated in the Royalty Deed. Besides being a waste of

                                                  money, doing so would have negatively impacted Echo Bay and Maverix by delaying the

                                                  royalty payments until the significant additional expenses imposed by requiring inefficient

                                                  locations were recouped. Moreover, given the topography of the region, it is unclear that

                                                  Coeur could have constructed all of the required facilities on the enumerated parcels. If

                                                  not, Maverix’s interpretation implies that the parties intended that those facilities not be

                                                  constructed at all and the Kensington mine be prematurely shut down, yielding no royalty

                                                  payments.46

                                                            Maverix’s interpretation is patently unreasonable. Coeur used its “sole discretion”

                                                  and good business judgment when it constructed the facilities necessary to operate the

                                                  Kensington mine. Echo Bay and Coeur intended that Coeur would be able to recoup these



                                                  46
                                                    The only alternative is that, under Maverix’s interpretation, the parties intended for Coeur to
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                                                  build the necessary facilities offsite at Coeur’s sole, non-recoupable expense. This is also absurd.
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                                                  The parties clearly understood the enormous economic investment required to make the
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                                                  Kensington mine operational, as they set forth a list of the required facilities in the contract. The
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                                                  notion that Coeur would undertake to construct these facilities at its own expense without the right
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                                                  of prior recoupment is absurd. It would raise a significant risk that Coeur could never recover its
                                                  investment and would significantly and materially increase the risk that the Kensington mine
                                                  would never be commercially viable.

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                                                  costs. This Court should reject Maverix’s unreasonable interpretation and confirm the

                                                  parties’ reasonable expectation that Coeur would act in the best interest of both parties by

                                                  minimizing costs when possible while still being able to recoup the costs under the Royalty

                                                  Deed.

                                                            Put differently, it is clear that any breach of the provision Maverix relies upon,

                                                  requiring facilities to be built “on” the Properties, could not be so material as to justify

                                                  depriving Coeur of one of its central benefits under the contract, on which it indisputably

                                                  relied. The law has long been clear that not every technical breach of a contract entitles a

                                                  party to recovery, but rather only those breaches that are material. “A breach is material if

                                                  it goes to the ‘essence’ of the contract or if it is ‘of such a nature as to defeat the object of

                                                  the parties in making the contract.’”47 Maverix has provided no evidence, or even any

                                                  context, that would support the notion that the location of facilities “on” the Properties was

                                                  material or beneficial to Echo Bay in any way, much less that it was “essential” to the

                                                  contract or that breach of such a condition would “defeat the object” of the contract. The

                                                  ability to recoup the enormous ($530MM) costs of the facility and infrastructure

                                                  construction necessary to bring Kensington into production, on the other hand, was clearly

                                                  and expressly essential to Coeur’s bargain, and Coeur clearly relied on that right when

                                                  making the enormous $530MM investment that it completed over a decade ago.
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                                                  47
                                                     14 Richard A. Lord, Williston on Contracts §43.6, at 578-79 (4th ed. 2000); see also Estate of
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                                                  Lampert ex rel. Thurston v. Estate of Lampert ex rel. Stauffer, 896 P.2d 214, 219 (Alaska 1995)
                                                  (holding that plaintiff may be entitled to rescission if defendant's actions “destroyed the ‘essence’
                                                  of the bargain.” (citing RESTATEMENT (SECOND) OF CONTRACTS §§ 372-73 (1981))).

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                                                  III.      IN THE ALTERNATIVE, COEUR SHOULD BE GIVEN THE
                                                            OPPORTUNITY TO CONDUCT RELEVANT DISCOVERY PURSUANT
                                                            TO CIVIL RULE 56(D).

                                                            Maverix has employed an impermissible litigation strategy that would prevent

                                                  Coeur from defending itself by raising a new theory of its claim after the discovery

                                                  deadline. This strategy has severely prejudiced Coeur, and Maverix should not be entitled

                                                  to summary judgment until Coeur has had the opportunity to conduct necessary discovery.

                                                  Should this Court not see fit to deny Maverix’s motion outright for the reasons set forth

                                                  above, this Court should permit Coeur to take discovery on this claim under Fed. R. Civ.

                                                  P. 56(d).

                                                            At no point before the close of discovery did Maverix indicate that its claims were

                                                  based on the theory that some of the construction costs for facilities necessary for the

                                                  Kensington mine should not have been included in Coeur’s recoupment calculations. This

                                                  theory is not referenced in Maverix’s expert reports or discovery responses made prior to

                                                  the close of discovery.48 The first hint that Maverix was at all concerned about the location

                                                  of the mine’s facilities occurred on December 6, 2022, during the deposition of Coeur’s

                                                  chief accounting officer, when Maverix’s counsel asked questions about the location of

                                                  facilities.49 On December 15, 2022, discovery closed.50

                                                            On December 26, 2022, Maverix issued supplemental interrogatory responses
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                                                  48
                                                     See, e.g., Counsel Aff., Exhs. C, D, & E.
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                                                  49
                                                     See, e.g., Counsel Aff., Exh. F at 173-74. To be clear, counsel for Maverix did not at that time
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                                                  disclose the claim on which it bases its claim for summary relief. Id.
                                                  50
                                                     Doc. 27 (Order Re: Unopposed Motion to Extend Pretrial Deadlines).


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                                                  which, for the first time, articulated its claim that the construction costs should be excluded

                                                  from the recoupment based on the location of the facilities. 51 Coeur issued an interrogatory

                                                  early on in discovery asking Maverix to “[d]escribe in detail what costs in the 2020 Q3

                                                  Recoupment Statement’s calculation of Construction Investment are ‘costs disallowed by

                                                  the Royalty Deed’ as asserted in Paragraph 58 of the Complaint.”52 Yet, Maverix waited

                                                  six months and until after the close of discovery before it added a new theory that “Coeur

                                                  improperly calculated the Base Recoupment Value portion of [Coeur’s Construction

                                                  Investment] by including disallowed costs (1) associated with construction of facilities off

                                                  the Kensington Properties, and (2) that benefit the Jualin deposit.”53 Maverix’s motion for

                                                  summary judgment on this theory followed just three days later, on December 29, 2022.

                                                            By improperly introducing a new theory after the close of discovery, Maverix has

                                                  severely prejudiced Coeur and violated its duty to timely supplement its disclosures and

                                                  discovery responses.54 Maverix’s belated disclosure has no justification. Its motion for

                                                  summary judgment relies on a publicly-issued report from 2010 that was also in Maverix’s

                                                  direct possession. From the time Maverix filed its complaint, it had the information

                                                  necessary to articulate the basis of its theory, yet it refrained from disclosing that theory

                                                  until after the discovery deadline. The Court would be justified in rejecting Maverix’s

                                                  claim based on this discovery misconduct alone.55
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                                                  51
                                                     Doc. 44-29 at 8.
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                                                  52
                                                     Id. at 3.
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                                                  53
                                                     Doc. 44-29 at 8.
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                                                  54
                                                     See Fed. R. Civ. P. 26(e).
                                                  55
                                                     See Fed. R. Civ. P. 37(c)(1) (“If a party fails to provide information or identify a witness as


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                                                           At minimum, however, if the Court plans to let Maverix pursue this claim and does

                                                  not reject this claim outright for the reasons set forth above, Coeur should be granted a

                                                  Civil Rule 56(d) continuance to conduct further discovery.56 Maverix’s new claim raises

                                                  numerous factual issues Coeur must be allowed to investigate to be able to fairly present a

                                                  defense. To the extent Maverix disagrees with Coeur’s assertion that Maverix and its

                                                  predecessors have waived their claim regarding construction expenses because they knew

                                                  or should have known about the construction years ago, discovery will be necessary to

                                                  determine when Maverix and its predecessors were aware of the location of facilities.

                                                  Additionally, even if the Royalty Deed did require construction only “on” the Kensington

                                                  properties, Coeur asserts that any breach of such a provision could not be material. Coeur

                                                  should be permitted to conduct discovery on issues including: the parties’ intent in using

                                                  the prepositional phrase “on the Properties” (the phrases “for the Properties” and “to serve

                                                  the Properties” also appear in various places in the Royalty Deed—the phrase “on the

                                                  Properties” could have been a scrivener’s error); Echo Bay’s reliance or expected benefit

                                                  (if any) from limiting the facilities’ locations to the Kensington Properties; whether

                                                  Coeur’s location of facilities is supported by sound business judgment; whether Maverix

                                                  will still receive the entire benefit it reasonably expected if the construction costs are


                                                  required by Rule 26(a) or (e), the party is not allowed to use that information or witness to supply
                                                  evidence on a motion, at a hearing, or at trail, unless the failure was substantially justified or is
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                                                  harmless. In addition to or instead of this sanction, the court, on motion and after giving an
                                                  opportunity to be heard: . . . (C) may impose other appropriate sanctions, including any of the
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                                                  orders listed in Rule 37(b)(2)(A(i)–(vi).”).
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                                                  56
                                                     See Fed. R. Civ. P. 56(d)(2) (“If a nonmovant shows by affidavit or declaration that, for specified
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                                                  reasons, it cannot present facts essential to justify its opposition, the court may: . . . (2) allow time
                                                  to obtain affidavits or declarations or to take discovery . . . .”).


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                                                  recouped; the damage that Coeur will suffer if it is unable to recoup the hundreds of

                                                  millions of dollars it invested to construct the mine’s necessary facilities, and; whether

                                                  Coeur’s choices of location comport with the standards of good faith and fair dealing.57

                                                  Furthermore, full litigation on this claim will require supplementation of (or additional)

                                                  expert reports on the actual locations of the facilities, 58 the suitability of alternative

                                                  locations, and Maverix’s purported damages (or lack thereof).

                                                            In sum, Maverix’s new theory introduces numerous issues of material fact that

                                                  Coeur has had no chance to investigate through discovery. If this Court is not inclined to

                                                  deny Maverix’s motion outright, this Court should defer ruling on the motion, allow

                                                  additional time for discovery, and adjust case deadlines accordingly.

                                                  IV.       CONCLUSION

                                                            Maverix’s Motion for Partial Summary Judgment is a clear demonstration that this

                                                  case is little more than “gotcha” litigation. Maverix relies on a technical reading of a single

                                                  prepositional phrase to undermine Coeur’s right to one of the most fundamental benefits it

                                                  was to receive under the Royalty Deed. In doing so, it ignores the express intent and


                                                  57
                                                     Bachner Co. v. Dep't of Admin., Div. of Gen. Servs., 468 P.3d 703, 709 (Alaska 2020) (citing
                                                  Restatement (Second) Of Contracts § 241 (Am. Law. Inst. 1981)) (providing the five elements of
                                                  the test for material breach as: “(a) the extent to which the injured party will be deprived of the
                                                  benefit which he reasonably expected; (b) the extent to which the injured party can be adequately
                                                  compensated [in damages] for the part of that benefit of which he will be deprived; (c) the extent
                                                  to which the party failing to perform . . . will suffer forfeiture; (d) the likelihood that the party
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                                                  failing to perform . . . will cure his failure, taking account of all the circumstances including any
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                                                  reasonable assurances; [and] (e) the extent to which the party failing to perform . . . comports with
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                                                  standards of good faith and fair dealing”).
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                                                  58
                                                     Maverix’s own briefing acknowledges that there is a genuine issue of material fact regarding
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                                                  the facilities’ locations, as not even Maverix is sure which buildings it believes are not on the
                                                  Properties. Doc. 41 at 6 (“These are just eight examples of costs included in the recoupment
                                                  amount for facilities built on the Jualin property; and . . . there are certainly more.”).

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                                                  understanding of the parties regarding what facilities were to be built (and the costs Coeur

                                                  was to be allowed to recoup), and Coeur’s right to exercise its reasonable business

                                                  judgment regarding the location of the facilities, all of which was completed over a decade

                                                  ago in full public view without a peep from the deed-holder. It ignores the benefit the

                                                  deed-holder received from locating facilities in less expensive locations and provides no

                                                  evidence or suggestion that the location of facilities was beneficial or material to the

                                                  deed-holder. It raised this issue for the first time after the close of discovery. It would use

                                                  a strict technical interpretation of a single, uncontextualized phrase—which there is no

                                                  evidence the deed-holder bargained for, relied upon, or benefitted from—to deprive Coeur

                                                  of an essential part of its bargain and to provide Maverix with millions in windfall damages

                                                  in the form of unspecified royalty payments dating back to 2010. Gotcha!

                                                           Maverix’s motion is little more than a lawyer’s clever wordplay. It is inconsistent

                                                  with the clear language and express intent of the contract, inconsistent with the principles

                                                  of Alaska contract law, and would deprive Coeur of one of its most material and essential

                                                  rights under the contract in favor of an immaterial technical claim of breach that deprived

                                                  Maverix of nothing. For the reasons set forth above, Maverix’s motion should be denied.

                                                  Should this Court not see fit to deny the motion outright, there should be a continuance in

                                                  this matter to allow Coeur to conduct discovery on this claim due to Maverix’s improperly

                                                  late disclosure.
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                                                           DATED this 3rd day of February, 2023, at Anchorage, Alaska.
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                                                                                                 By: /s/ Michael A. Grisham
                                                                                                    Michael A. Grisham, ABA #9411104
                                                                                                    Nathan Bishop, NA20777
                                                  CERTIFICATE OF SERVICE
                                                  I hereby certify that a copy of the
                                                  foregoing was served this 3rd day of
                                                  February, 2023, through the Court’s
                                                  ECF system.

                                                  By: /s/ Nathan Bishop
                                                          Nathan Bishop NA20777
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